Case 1:12-cv-01256-JTC Document 1 Filed 12/21/12 Page 1 of 7
Case 1:12-cv-01256-JTC Document 1 Filed 12/21/12 Page 2 of 7
Case 1:12-cv-01256-JTC Document 1 Filed 12/21/12 Page 3 of 7
Case 1:12-cv-01256-JTC Document 1 Filed 12/21/12 Page 4 of 7
Case 1:12-cv-01256-JTC Document 1 Filed 12/21/12 Page 5 of 7
Case 1:12-cv-01256-JTC Document 1 Filed 12/21/12 Page 6 of 7
Case 1:12-cv-01256-JTC Document 1 Filed 12/21/12 Page 7 of 7
